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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,              )
                                        )                No. ____________
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 RUDOLPH EUGEN LUDWIG PLATKY,           )
                                        )
          Defendant.                    )
 _______________________________________)

                                          COMPLAINT

         The United States of America, at the request of the Chief Counsel of the Internal Revenue

Service, a delegate of the Secretary of the Treasury, and at the direction of the Attorney General

of the United States, brings this action to collect outstanding federal penalties assessed against

Rudolph Eugen Ludwig Platky for his failure to report his interest in foreign bank accounts on a

Treasury Form TD F 90-22:1, Report of Foreign Bank and Financial Accounts (“FBAR”) for the

years 2010, 2011, and 2012.

                                 JURISDICTION AND VENUE

         1.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1345 and

1355(a).

         2.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) and (2), as well

as 28 U.S.C. § 1395(a).

                                             PARTIES

         3.     Plaintiff is the United States of America.

         4.     Defendant Rudolph Eugen Ludwig Platky (“Platky”) currently resides in Madrid,

Spain.
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       5.      Platky is a United States citizen.

                           COUNT I – RECOVERY OF PENALTIES

       6.      All citizens and residents of the United States who have a financial interest in, or

signatory or other authority over, any foreign financial account that had a maximum value of

greater than $10,000 during the calendar year are required to file an annual report disclosing the

existence of each account. 31 U.S.C. § 5314; 31 C.F.R. § 1010.350.

       7.      The annual report, known as a Report of Foreign Bank and Financial Accounts

(“FBAR”) for a calendar year is due no later than June 30 of following the calendar year.

31 C.F.R. § 1010.306(c).

       8.      Platky admitted to the IRS that he had offshore accounts with account balances

between $2 million and $5 million for calendar years 2010 to 2012.

       9.      For calendar years 2010, 2011, and 2012, Platky was required to file an FBAR by

June 30 of the following year.

       10.     Platky has not filed an FBAR for calendar years 2010, 2011, and 2012.

       11.     On February 3, 2017, a duly authorized delegate of the Secretary of the Treasury

timely assessed penalties of $10,000 against Platky for his non-willful failure to timely report the

foreign financial account for each of the years 2010, 2011, and 2012. This resulted in a total

amount of $30,000 in penalties being assessed.

       12.     Despite notice and demand for payment of the penalties described in paragraph

11, Platky has failed or refused to make full payment to the United States.

     13.       In addition, the United States is also entitled to recover pre-judgment interest on

the unpaid penalties as well as penalties for failing to pay a lawful debt owed to the United

States. 31 U.S.C. § 3717. The amount owed as of January 31, 2018, including interest and




                                                    2
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penalties, was $30,564. Interest and penalties will continue to accrue on this amount from that

date until paid.

      14.          Accordingly, the United States is entitled to a judgment against Platky in the

amount of $30,564 as of January 31, 2018.

WHEREFORE, the United States respectfully prays as follows:

        A.         That the Court enter judgment in favor of the United States and against Rudolph

                   Eugen Ludwig Platky in the amount of $30,564 as of January 31, 2018, plus

                   further interest and penalties as provided by law; and

        B.         That the Court award such other and further relief, including the costs of this

                   action, as may deemed just and proper under the circumstances.



Date: June 18, 2018,

                                                         RICHARD E. ZUCKERMAN
                                                         Principal Deputy Assistant Attorney General
                                                         Tax Division

                                                         /s/ Ari D. Kunofsky________
                                                         ARI D. KUNOFSKY
                                                         Trial Attorney, Tax Division
                                                         U.S. Department of Justice
                                                         P.O. Box 227
                                                         Washington, D.C. 20044
                                                         202-353-9187 (v)
                                                         202-514-6866 (f)
                                                         Ari.D.Kunofsky@usdoj.gov




                                                     3
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                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 United States of America                                                       Rudolph Eugen Ludwig Platky,



 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________                                                           Madrid, Spain
                                                                                    COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 Ari D. Kunofsky
 US Department of Justice- Tax Division
 555 4th St., NW; Washington, DC 20001
 ph. (202) 353-9187

 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                           PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government    o     3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                    Federal Tax Suits                                 462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                         870 Taxes (US plaintiff or                        Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                          defendant)                               465 Other Immigration
      230 Rent, Lease & Ejectment                                                         871 IRS-Third Party 26 USC                        Actions
      240 Torts to Land                 Prisoner Petitions                                     7609                                     470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                     Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                              625 Drug Related Seizure of
                                                                                               Property 21 USC 881                      490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                           690 Other                                    850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                      Other Statutes                                    896 Arbitration
      380 Other Personal Property
                                                                                          375 False Claims Act                          899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                                376 Qui Tam (31 USC                               Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                        3729(a))                                      Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                  400 State Reapportionment                     950 Constitutionality of State
                                                Drug Application                          430 Banks & Banking                               Statutes
                                            840 Trademark                                 450 Commerce/ICC                              890 Other Statutory Actions
                                                                                              Rates/etc.                                    (if not administrative agency
                                                                                          460 Deportation                                   review or Privacy Act)
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 o     G. Habeas Corpus/                       o      H. Employment                            o    I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                    o    M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate         or Reopened        from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   31 USC 5321

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $ 30,564                                 Check YES only if demanded in complaint
      COMPLAINT                              ACTION UNDER F.R.C.P. 23
                                                                                     JURY DEMAND:                                YES               NO      ✘
 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES                    NO      ✘                If yes, please complete related case form


                6/6/18
 DATE: _________________________                                                                    /s/ Ari D. Kunofsky
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                          District
                                                    __________     of Columbia
                                                               District of __________

                                                                     )
                                                                     )
                                                                     )
                 United States of America,                           )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )
                                                                     )
                                                                     )
                                                                     )
               Rudoph Eugen Ludwig Platky,                           )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           Rudoph Eugen Ludwig Platky
                                           Calle Mendez Pidal 27, Apartmento 401
                                           28036 Madrid Spain




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Ari D. Kunofsky
                                           US Department of Justice- Tax Division
                                           555 4th St., NW, Suite 6112
                                           Washington, DC 20001


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
